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                        IN THE LTNITED STATES DISTzuCT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


PATRICIA WHEATLEY           ANd                    )
JACKSON PAVELKA,                                   )
                                                   )
                      Plaintiffs,                  )
                                                   )
                                                   )
                                                   )
SAFE HOME SECURITY f/Aa, a/Ao, andlor              )
d/b/o ALLIANCE.                                    )
                                                   )
                       Defendant.                  )   Civil Action No. 3:20-CV-3205-C


                                             ORDER

       The Parties have indicated to the Court that they have settled this civil action.

Accordingly, this case is   ADMINISTRATMLY CLOSED without                  prejudice to its being


reopened to enter an order of dismissal or to enter other orders   if the settlement   is not


consummated. counsel in this case are oRDERED to file appropriate dismissal papers on or

before 30 days from the date ofthis Order.

       SO ORDERED.
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        Dated Februarv      C'   .2022


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                                               S            C        GS
                                               S       OR          D STA       DI      RICT JUDGI]
